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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      Case No. 21-CR-175-1 (TJK)
                                              :
ETHAN NORDEAN,                                :
                                              :
                       Defendant.             :
                                              :

              THE UNITED STATES’ RESPONSE TO NORDEAN’S
          NOTICE OF GOVERNMENT’S ALLEGED VIOLATION OF THE
       DUE PROCESS PROTECTIONS ACT AND LOCAL CRIMINAL RULE 5.1

       The government has complied with and will continue to comply with the Due Process

Protections Act and Local Criminal Rule 5.1. Defendant Nordean’s notice alleging a violation of

those provisions (ECF 79) seeks no relief, and no relief or further action by the Court is necessary

or appropriate. In compliance with the Court’s order on May 4, 2021, the government provides

this response to the notice.

       As an initial matter, to the extent the notice suggests that the Court should reconsider the

defendant’s pre-trial detention, the Bail Reform Act provides a clear mechanism for seeking such

relief. Specifically, the BRA permits the reopening of a detention hearing when new information

has a “material bearing on the issue” as to whether a defendant should be subject to detention.

18 U.S.C. § 3142(f). The defendant has not sought to reopen the hearing, and there is no reason

for the Court to consider doing so here. As explained below, the information provided in the notice

does not have a “material bearing on the issue” of detention and as such does not provide a basis

to reopen the detention hearing.

       In addition, the government has engaged and continues to engage in discovery productions

with diligence and in good faith. Between the unsealing of the superseding indictment on March 19
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and the detention hearing on April 6, the government made a series of discovery productions,

which included 1,500 pages of Telegram messages, 43 pages of text messages, and several hours

of video footage that depicted the defendants in and around the Capitol on January 6. Productions

have continued since the detention hearing. These ongoing efforts run counter to the allegations in

defendant Nordean’s notice. Indeed, given that the investigation and prosecution of the events at

the Capitol is one of the largest in American history, both in terms of the nature and volume of the

evidence and the number of defendants prosecuted, there can be little doubt that evidence,

including some evidence arguably “favorable” to the defendants, will continue to be produced in

the leadup to trial. The government will continue to provide such information, along with all other

discoverable material, as quickly as possible to ensure compliance with its obligations.

   A. The Government is Actively Complying with its Disclosure Obligations
       Pursuant to Local Criminal Rule 5.1(a), the government shall disclose all information

“favorable to an accused” that is “material either to guilt or to punishment” and that is known to

the government. LCrR 5.1(a) (quoting Brady v. Maryland, 373 U.S. 83, 87 (1963)). The rule

further provides that the government “shall make good-faith efforts to disclose such information

to the defense as soon as reasonably possible after its existence is known.” Id. The government has

complied with its obligations here. As noted above, the government produced over 1,500 pages of

Telegram chat threads to the defendant prior to the detention hearing. On April 29, 2021, the

government produced to defendant Nordean eleven (11) strings of text messages, totaling over

5,000 pages, that contained the terms “Ministry of Self-Defense” or “MOSD,” and that were

recovered from defendant Nordean’s phone.

       Thereafter, on April 30, 2021, a full copy of an extraction from defendant Nordean’s phone

was produced to Nordean’s counsel. That production included approximately 1,172 Telegram

message strings (totaling over 1.3 million messages). The extracted text of the Telegram messages

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in Nordean’s phone runs over 204,000 pages when printed in .pdf format, which does not include

any of the images, audio, or video files that are associated with the message strings. In addition to

the Telegram messages, the phone contains hundreds of other communications using other

platforms, including other encrypted platforms such as Signal and WhatsApp. The government’s

review of these message strings, hundreds of which contained communications between December

2020 and January 2021, is ongoing, and all of this information is in defendant Nordean’s

possession.

   B. Far from Being Exculpatory, the Telegram Messages Produced to Defendant
      Contain Additional Evidence of Criminal Conduct
       Defendant Nordean alleges that the Telegram messages disclosed to him contain

exculpatory information, specifically that they contain evidence that (1) defendant Nordean had

no connection to Dominic Pezzola (who is separately indicted, and whom the government has

identified as a coconspirator) (ECF 79 at *3); (2) indicates that the attack on the Capitol was not

planned (Id. at *3-5); and (3) defendant Nordean had foresworn politics, rallying, and marching

on capitol buildings (Id. at *5-7). Far from being exculpatory, when placed in context, these and

other Telegram messages produced to defendant Nordean contain additional evidence of the

criminal conduct.

       On December 29, 2020, the Proud Boys Chairman announced the leadership and structure

of the Ministry of Self-Defense. The leadership and structure included an “upper tier leadership”

of six people, which included Proud Boys Chairman, Nordean, Biggs, and Rehl. Later that evening,

Donohoe explained the structure with reference to the upcoming trip to Washington, D.C. Among

other things, Donohoe explained that the MOSD was a “special chapter” within the organization.

The “special chapter” was not to have any interaction with other Proud Boys attending the event.




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Other Proud Boys attending the event were to coordinate with their own chapters and “do whatever

you guys want.” 1

       A video call was held with prospective members of the MOSD on December 30, 2020. The

self-proclaimed leadership of the MOSD introduced the chapter and explained the expectations,

including the strict chain of command. As one member (“Person-1”) of the upper tier leadership

explained:

              [Directions] could come from any single person that you see on your
              screen right now 2…but the one thing that everyone has to
              understand, is, yes, you might be getting told things from different
              people, but it’s all information from the same plan. [Joe] Biggs is
              not going to tell you something different than I’m gonna tell you.
              [Proud Boys Chairman] is not going to tell you something different
              than Zach [Rehl] is going to tell you. It’s all one operational plan,
              so don’t get hung up on the delivery. The information is all the same.

Co-defendant Rehl explained that the operation in Washington, D.C. did not include plans for an

evening march.

              It’s not gonna be the same thing. We’re not gonna be doing like a
              proud boy fuckin’ 8 o’clock at night march and flexing our [arms]
              and shit. So, you guys gotta understand that. We’re not doing that
              this time. We’re doing a completely different operation. And there’s
              gonna be a lot of contingencies and plans that are laid out. And
              there’s gonna be teams that are going to be put together.

The next day, on December 31, 2020, Proud Boys Chairman posted a “list of things to discuss,”

which indicated that plans for D.C. were “TBD on Jan 2nd evening video call” and that there was

“no March” to be planned for the evenings.




1
  The government continues to investigate whether this separation was strictly enforced on
January 6.
2
  Nordean was not visible on the screen during the video call; however, Person-2 was visible on
the screen at the time the statement was made.
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Boys Chairman responded, “This is so much better[.]” Proud Boys Chairman then wrote, “Make

no mistake…” and then “We did this…”

           1. Dominic Pezzola’s Membership in the MOSD
       In his notice at *3-4, the Defendant suggests that members of the conspiracy were unaware

of or unfamiliar with Dominic Pezzola. In fact, Pezzola is included as a participant in a Telegram

message string for the Ministry of Self Defense. Also, as described in the government’s detention

memorandum for co-defendant Donohoe, Donohoe was seen carrying a riot shield with Pezzola

around the same time Donohoe reported in the Telegram messages, “Got a riot shield.” Members

in the Telegram messages, including Donohoe, recognized Pezzola as a member of the group prior

to media reporting. Moreover, in the Telegram messages recently produced to Defendant, Person-

2 and others shared links to online fundraisers for Pezzola following his arrest.

           2. Commentary About Joseph Biggs’ Affidavit
       The Defendant points to a self-serving statement in response to news of the arrest of co-

defendant Joseph Biggs on January 20, 2021. The statement was actually made by co-defendant

Rehl and then later reposted by Nordean. Specifically, at 1:37 p.m. on January 20, co-defendant

Rehl posted the affidavit with the comment “This FBI affidavit for Biggs, its of course a steaming

pile of dog shit that tries to make it seem like the capital shit was planned[.]” Nordean responded

by directing everyone to keep quiet. Specifically, about 30 minutes later, Nordean responded,

“What the fuck” and then “Everyone needs to just shut the fuck up” and then “There’s way too

many videos and pictures and words being shared[.]” Rehl responded, “Yeah, exactly.”

       Nordean later posted co-defendant Rehl’s statement, verbatim, in a different Telegram

message string. However, before reposting Rehl’s message, Nordean provided his own

commentary: “They’re making Biggs look like he was leading the crew into the capital. At this

point everyone just needs to stop talking about shit[.]” Nordean’s commentary reveals that his

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objection to Biggs’ Complaint was the suggestion that Biggs had “led the crew into” (i.e., inside

of) the Capitol building. Moreover, these comments were made weeks after the event, when

discussion of “sedition” and “seditious conspiracy” had flooded the media.

       Statements made contemporaneous to the event, however, revealed a plan to storm the

Capitol and to let the crowd loose, e.g.:

               UCC-1:    I want to see thousands of normies burn that city to ash today
               Person-2: Would be epic
               UCC-1:    The state is the enemy of the people
               Person-2: We are the people
               UCC-1:    Fuck yea
               Person-1: God let it happen . . . I will settle with seeing them smash some
                         pigs to dust
               Person-2: Fuck these commie traitors
               Person-1: It’s going to happen. These normiecons have no adrenaline control
                         . . . They are like a pack of wild dogs
               DONOHOE: I’m leaving with a crew of about 15 at 0830 to hoof it to the
                         monument no colors
               Person-2: Fuck it let them loose
               Person-1: I agree . . . They went too far when the [sic] arrested [Proud Boys
                         Chairman] as a scare tactic

       Participants in the group celebrated their collective accomplishment (e.g., Rehl: “I’m proud

as fuck at what we accomplished yesterday”) and the decision to forego colors at the rally (e.g.,

Donohoe: “Thank God we were not wearing colors. We should never wear colors ever again for

any event”). Participants in the group also revealed that disruption of the Electoral College

certification was at least one goal of the conspiracy (e.g., Person-2: “We failed. The house is

meeting again.” and “We accomplished our mission today. Even if they helped.”).

       Moreover, even in sharing his reaction to the Biggs’ affidavit on January 20, 2021, the

defendant appeared to acknowledge his responsibility for exposing others to potential criminal

consequences. Specifically, shortly after posting the link to the Biggs affidavit, defendant Nordean

posted a series of messages that read:



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At the time of his statements, Ochs had been charged with a misdemeanor charge of unlawful entry

into the U.S. Capitol. Notwithstanding his apparent belief that he had not done anything “legally

bad,” a federal grand jury later approved an indictment charging Ochs along with Nicholas

DeCarlo, with a conspiracy to obstruct Congress and misdemeanor destruction of federal property

for defacing the Memorial Door of the U.S. Capitol. United States v. Nicholas DeCarlo and

Nicholas Ochs, 21-cr-73 (BAH). In other words, Ochs’ self-serving assessment of what constitutes

something “legally bad” is ill-informed and unpersuasive.

           5. Nordean “Forswearing” Rallying
       The Defendant claimed that the message strings “show repeated comments from Nordean

and others forswearing (1) politics generally, (2) rallying, and (3) ‘marching on capital

buildings[.]’” 3 Based on the plain text of defendant’s own examples in his notice, defendant

Nordean did not foreswear rallying, he merely indicated that he had agreed to put a three-month

pause on rallies. In fact, the defendant’s apparent agreement to do so—if it was to be honored—

was both reluctant and temporary. At least as early as January 12, 2021, individuals began to

advocate for a “stand down” for rallies through May 1. Far from expressing agreement, defendant

Nordean emphasized that he “would not be sitting on [his] ass waiting for the end” but would come

up with a “game plan” for the year in a series of messages posted in response:

       Nordean:        Guys who don’t rally creating rules for those who do. We will handle the
                       optics and future rallies, if we continue them or if not. It will not be the
                       decision of those who have never set foot on the ground.
       Participant:    If they do lol, u won’t, shit is real now, people our going to go to jail and
                       be charged with sedition, rally it up! Punching purple haired faggots,
                       brave and stunning




3
 The government notes that rallies and participation in the political process, including running for
public office, is not unlawful.
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        Nordean:       Ok so let’s let the government take our lives away and do
                       nothing...stunning and Brave
        Nordean:       They’re coming for you no matter what you [guys]. Wake the hell up. I’m
                       not gunna be sitting on my ass waiting for the end
        Nordean:       I’m gunna press on with some smart level headed non emotional guys and
                       create a game plan for how to approach this year, we aren’t gunna stop
                       getting involved in the community, especially with the momentum we
                       have and if your worried about getting arrested and think that doing
                       nothing will remove that threat you’re fooling yourselves. I’ve had this
                       conversation with guys like this for 3 years and every year you all get
                       worked up and wanna hide. We can be smarter, train, plan etc...but we will
                       never stop. Get on board or move aside.
        During this same time period, defendant Nordean was making plans to meet with other

members of the Proud Boys in the Pacific Northwest to discuss future plans, including “Bulk armor

deals” and “Uniform change (at rally’s) [sic]”. Writing on January 20, 2021, the Defendant set out

an agenda for a proposed meeting on February 6 and noted that “we are on the brink of absolute

war”:




        On January 21, the defendant proposed to the group an idea for bulk orders of uniforms

that would include “Med kits, boots, pants, shirts (stab proof) vests, gloves(cut proof) masks etc[.]”

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On January 27, the defendant again listed the agenda items for the officer’s meeting as: “Pictures

and video of activity[,] Setting up regional training every 3 months[,] Regional bulk orders of

gear[,] Communications[,] Rally’s[,] Uniform[,] SHTF protocol [Sh** Hits The Fan protocol].”

       Indeed, one of the examples cited by the defendant is made in the context of a discussion

of the possibility of future rallies. The defendant included a post from co-defendant Donohoe for

the proposition that rallies would end (i.e., “Almost none of my guys want to do rallies now.”) The

defendant did not include Donohoe’s message that immediately preceded it, which puts Donohoe’s

statement in context—i.e., that the only people who might still rally were those who were in the

Ministry of Self Defense.




Defendant Nordean responded to Donohoe by writing, “Yeah, this is just to organize and prepare

for when we do decide to get active again. At the very least there’s lots of good excuses to just get

out and do meet n greets with the public, raise money, community service, security for events

etc...but we can work on an effective process so we look more organized and have properly vetted

members who are representing the club[.]”




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       The suggestion that defendant Nordean had foresworn politics is equally dubious. On

January 21, 2021, defendant Nordean had an exchange with UCC-1 in which defendant Nordean

bemoaned that the “Patriot movement is full of whiney [] virtue signaling [people] who hate

violence[.]” UCC-1 noted that “there’s some of us who simply will never quit, ever. Maybe I’m

just insane, but I will fight until my dying breath no matter what situation we’re in, and I think

every man in this room will too . . . And that [is] something our founding fathers would be proud

to see[.]” Defendant Nordean then responded, in part, “I’m gunna take over a small city in Florida

and run it. I’ll be the mayor and my boys will be in city council.”

       Finally, defendant’s assertion that he forswore marching on capitol buildings is out of

context. Nordean’s message asserting that “PROUD BOYS ARE NOT MARCHING ON

CAPITAL BUILDINGS” was actually the reposting of a message posted earlier in the day by

another member. That post followed an incident in which several Proud Boys appeared at a protest

at the Richmond Capitol on January 18, 2021. Notably, the defendant asserts in his post that the

Proud Boys appearance at the Ohio Capitol was a “false flag” operation, i.e., the Proud Boys were

not there. Tellingly, the defendant’s post about not marching on Capitol buildings was made on

January 21—the day after the inauguration. Particularly in light his other messages concerning

plans for “bulk orders of gear” and uniforms at rallies, the defendant’s message on January 21 is

properly read as an attempt to distance the Proud Boys from alleged conduct that would

undoubtedly lead to more scrutiny.

                                          CONCLUSION

       The defendant’s notice is a false flag. The government has fully complied with its

discovery obligations and there is no basis to reconsider the detention decision. The notice seeks

no relief because defendant is entitled to no relief.



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                                Respectfully submitted,


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                              CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that I caused a copy of this pleading to be served upon defense
counsel via the Electronic Case Filing (ECF) system, on May 13, 2021.



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